          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                    CRIMINAL CASE NO. 1:07cr33-3


UNITED STATES OF AMERICA, )
                            )
                            )
             vs.            )                  ORDER
                            )
                            )
JEANNIE LARGENT COSBY.      )
                          )



     THIS MATTER is before the Court on the Motion of Petitioner for

Modification or Reduction of Sentence Based upon an Intervening Post-

Sentence Change in the United States Sentencing Guidelines Pertaining to

Cocaine Base “Crack” Offenses (Amendment 9) and the Corollary Criminal

History Category (Amendment 12) which Effectively Lowers Petitioner’s Term

of Imprisonment [Doc. 364].

     On October 31, 2007, the Defendant was sentenced to 168 months

imprisonment for her conviction of conspiracy to possess with intent to

distribute between 50 and 150 grams of cocaine base. [Doc. 185]. Prior to

sentencing the Government had filed notice pursuant to 21 U.S.C. §851 of the



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Defendant’s three prior felony drug convictions which subjected her to a

mandatory sentence of life imprisonment. [Doc. 95]. The Defendant was also

found to be a career offender and sentenced pursuant to U.S.S.G. §4B1.1.

[Id.]. The Defendant received a sentence below the mandatory statutory

minimum because the Government moved for a downward departure pursuant

to U.S.S.G. §5K1.1 based on substantial assistance. [Doc. 176].

      After the Crack Cocaine Guideline Amendment, Amendment 706,

became effective, the Defendant filed numerous pro se motions pursuant to

18 U.S.C. §3582(c)(2) for a sentence reduction. [Doc. 209; Doc. 212; Doc.

264; Doc. 271; Doc. 342; Doc. 343]. The sentencing court found that the

Defendant was ineligible for a sentence reduction because, although a motion

for a downward departure had been granted, the §851 notice had never been

withdrawn. [Doc. 347]. Thus, there was no change in the guideline range due

to the statutory mandatory sentence. [Id.]. In addition, the Defendant was a

career offender and thus, application of the Amendment did not result in a

change in the guideline range. [Id.].

      The Defendant appealed the denial of her motions but on June 2, 2010,

the United States Fourth Circuit Court of Appeals affirmed the sentencing

court’s denial. United States v. Cosby, 2010 WL 2182363 (4 th Cir. 2010).



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      A little over one month later, the Defendant moved again for a sentence

reduction based on the Crack Cocaine Guideline Amendment.1 Although she

now refers to the Amendment as “Amendment 9,” it is clear that she is actually

referring to Amendment 706. See, e.g. United States v. Shackleford, 2009

WL 1117397 (M.D.Fla. 2009); United States v. Esquivel, 2008 WL 2570907

(D.Utah 2008) (defendant’s citation to language describing the reason for the

amendment shows she was in fact relying on Amendment). “Amendment 706

was originally presented as ‘Amendment 9' to Congress.” Harris v. United

States, 2009 W L 303701 **3, n.4 (W.D.Pa. 2009); United States v. Anderson,

2008 WL 4790355 **1 n.1 (W.D.Va. 2008), affirmed 316 Fed.Appx. 225 94 th

Cir. 2009). The Defendant has already received a ruling on her eligibility for

relief pursuant to the Amendment and the Fourth Circuit has affirmed that

ruling.2

      The Defendant also refers to “Amendment 12" which she claims

changed the criminal history rules of the guidelines in Chapter 4.                    The

Defendant is referring to Amendment 709 of the United States Sentencing

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       Because the sentencing judge retired, the case was reassigned to the
undersigned.
      2
        The Defendant makes a vague request that she be re-sentenced pursuant to
“the 18-1 ratio.” [Doc. 364, at 4]. The ruling issued today is without prejudice to any
relief which may ultimately become available pursuant to the Fair Sentencing Act of
2010.

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Guidelines. Esquivel, supra.; Harris, supra. Amendment 709 has not been

made retroactive to cases on collateral or post-conviction review, except as

to direct appeal. U.S.S.C. §1B1.10(c). It therefore has no application in this

matter. Id.; United States v. Wells, 2009 WL 728500 (D.Utah 2009).

      IT IS, THEREFORE, ORDERED that the Motion of Petitioner for

Modification or Reduction of Sentence Based upon an Intervening Post-

Sentence Change in the United States Sentencing Guidelines Pertaining to

Cocaine Base “Crack” Offenses (Amendment 9) and the Corollary Criminal

History Category (Amendment 12) which Effectively Lowers Petitioner’s Term

of Imprisonment [Doc. 364] is hereby DENIED.

                                      Signed: August 9, 2010




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